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                                                U.S. Department of Justice              Letter

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                                               August 2, 2018
By Mail and Email
Honorable J. Michael Seabright
United States District Court
District of Hawaii
300 Ala Moana Blvd C-338
Honolulu, HI 96850

 Re:     United States v. Kealoha (1) and Kealoha (2),
         Case No. CR 18-00068-JMS-RLP (D. Hawaii)

 Dear Judge Seabright:

       During a status conference on July 12, 2018, the Court ordered the parties to submit
a letter on or before August 2, 2018, regarding the parties' position on voir dire and jury
selection for the trial scheduled to begin on November 14, 2018. At your request, the parties
met and conferred regarding the proposed processes and procedures. The parties have
reached some agreement, subject to your review and concurrence, on the following points:

       a.   The parties request that the jury clerk pre-screen the potential venire for the
length of the trial to avoid having members with pre-paid travel plans, and other conflicts,
from having to travel to Honolulu to be excused. (Ms. Kagiwada requests that the pre-
screening form consist of a 1-page questionnaire that would be issued around the time of
the jury summons, without any case identifying information. The United States believes
the pre-screening process can be effectively performed by the jury clerk without the use of
a questionnaire prepared by the parties.)

       b.   The parties request juror cards be disbursed to the parties at least one week in
advance of trial. The parties request a written hardship waiver be provided to prospective
jurors along with the jury summons card to facilitate narrowing the venire.

       c.   The parties propose a brief written questionnaire be issued to prospective
jurors on the morning they arrive for jury selection, not in advance. The parties anticipate
submitting to the Court, in advance of trial, a joint proposed written questionnaire that
should take no more than 20-30 minutes for jurors to complete. The parties request at least
2 hours to review the responses before appearing on the record in Court. (Ms. Kagiwada
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 requests 2-4 hours to conduct this review, based on her jury consultant's recommendation.
 The United States does not believe that the parties will need more than 2 hours to
 effectively review the questionnaires.)

        d.   The parties propose that following the completion of the written questionnaires
 by the prospective jurors and review of the questionnaires by the parties, the Court and the
 parties should discuss challenges for cause to narrow the venire.

       e.    The parties propose that after narrowing the venire based on the written
 questionnaires, the Court and the parties should engage in voir dire with the remaining
 members of the venire. The parties acknowledge that, depending on the circumstances of
 any particular prospective juror, individual voir dire may become necessary to protect
 privacy or avoid contaminating other potential jurors.

        f.   The parties propose the number of peremptory challenges for each party should
 be increased from the number allotted by Federal Rule of Criminal Procedure 24(b)(2). The
 parties agree to request 12 peremptory challenges for the defendants and 1 peremptory
 challenges for the United States.

       g.    The United States agrees that in the event it conducts criminal history checks
 of any prospective juror and those checks provide positive results, the United States will
 share those results with the defense.

       h.   The parties request the Court make arrangements, in coordination with the
United States Marshals Service, for an alternative entry point to the Courthouse for the
jurors during the trial to avoid potential interaction with media and other persons on the
Courthouse steps.

                                              Very truly yours,

                                               JEFFERSON B. SESSIONS III
                                               United States Attorney General



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